Case 2:23-cv-00809-APG-NJK Document 1-3 Filed 05/24/23 Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Nevada ue
Floyd Wallace yon
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me ) ENTERED SERVED ON |.
* y Cwil Actoh No. COUNSELIPARTIES OF RECORD
Las Vegas Metropolitan Police Department, et al. ) a
) MAY 24 2023
CLERK US DISTRICT C OURT
Defendant(s) ) DISTRICT OF N _.
BY: . Pry

SUMMONS IN A CIVIL ACTION

LAS VEGAS METROPOLITAN POLICE DEPARTMENT; STATE OF NEVADA;
To: (Defendant's name and address) ~ 16TIAN TORRES; JASON SHOEMAKER; CORY MCCORMICK; and DOES 1 to

50 inclusive.

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Floyd Wallace

1613 Leopard Ln. — 1.
College Station, TX 77840 , “

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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Y

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

Case 2:23-cv-00809-APG-NJK Document 1-3 Filed 05/24/23 Page 2 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

Date:

7 I personally served the summons on the individual at (place)

on (date) ; or

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, 4 person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
CI I served the summons on (name of individual) » who is
designated by law to accept service of process on behalf of (name of organization)
on (date) 3 or
(7 I returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case 2:23-cv-00809-APG-NJK Document 1-3 Filed 05/24/23 Page 3 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the
District of Nevada
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Las Vegas Metropolitan Police Department, et al. ) COUNSELF. i . wd
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Defendant(s) ) DISTRICT OF. 2...
SUMMONS IN A CIVIL ACTION: mete

LAS VEGAS METROPOLITAN POLICE DEPARTMENT; STATE OF NEVADA;
CHRISTIAN TORRES; JASON SHOEMAKER; CORY MCCORMICK; and DOES 1 to
50 inclusive.

To: (Defendant's name and address)

A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Floyd Wallace

1613 Leopard Ln.
College Station, TX 77840

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk

Case 2:23-cv-00809-APG-NJK Document 1-3 Filed 05/24/23 Page 4 of 4

AO 440 Rev. 06/12) Summons in a Civil Action (Page 2)

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Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
